
Petitioner Beck raises only one issue here:
 "Whether the Alabama Court of Criminal Appeals erred in its finding that the Alabama Death Penalty Statute is not in violation of Article III, Section 43, Article V, Section 124 and Amendment 38, of the 1901 Constitution of Alabama."
Petitioner raised the same issue in the Court of Criminal Appeals, 365 So.2d 985, and that court decided the issue adversely to him. We affirm.
The sentencing procedure set out in Alabama's Death Penalty Statute is constitutional. Jacobs v. State, 361 So.2d 640 (Ala. 1978).
Petitioner raised in the Court of Criminal Appeals other alleged errors which he contended constituted prejudicial error. He does not ask us, in his petition for certiorari, to review the holding of the Court of Criminal Appeals on those issues; therefore, we do not address them. Rule 39, ARAP.
AFFIRMED.
TORBERT, C.J., and BLOODWORTH, FAULKNER, ALMON, EMBRY and BEATTY, JJ., concur.
JONES and SHORES, JJ., dissent.